 ~AO 245B     (Rev. 12/03) Judgment in a Criminal Case
   NCED       Sheet]



                                         UNITED STATES DISTRICT COURT
                         Eastern                                    District of                              North Carolina
          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                              V.
           WILLIAM HUNTER YATES                                             Case Number: 7:09-CR-164-2-D

                                                                            USM Number:52611-056

                                                                            Jason R. Harris
                                                                            Defendant's Attorney
THE DEFENDANT:
.tJ pleaded guilty to count(s)      Count 2 - Indictment

[J pleaded nolo contendere to count(s)
   which was accepted by the court.
[] was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                 Nature of Offense                                                 Offense Ended
14 U.S.C. §88(c) and 18 U.S.C. §2                False Distress Message and Aiding and Abetting                    10/18/2008           2




       The defendant is sentenced as provided in pages 2 through             __5 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
~ Count(s)                                                D is      D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIc circumstances.

 Sentencing Location:                                                       6/23/2010
  Raleigh, North Carolina                                                   Date of Imposition of Judgment




                                                                             James C. Dever III, United States District Judge
                                                                            Name and Title of Judge


                                                                            6/23/2010
                                                                            Date




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AD 2458      (Rev. 12/03) Judgment in a Criminal Case
     NeED    Sheet 4-Probation
                                                                                                         Judgment-Page   ---2...- of         5
DEFENDANT: WILLIAM HUNTER YATES
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                                                                PROBATION
The defendant is hereby sentenced to probation for a term of :
  Count 2 • 3 year.

The defendant shall not commit another federaL state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suomit to one drug test within 15 days of placement on probation and at feast two periodic drug tests
thereafter, as determined by the court.
D       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
¢       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check. if applicable.)
¢       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o The defendant shall register with the state sex offender registration agency in the state where the defendant resides. works, or is a
        student. as directed by the probation officer. (Check, if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If thisjudgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sfleefof this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
1.      Th~ defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
        officer.
2.     The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
       complete written report within the first five (5) days of each month.
3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.     The defendant shall support the defendant's dependents and meet other family responsibilities.
5.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
       acceptable reasons.
6.     The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment.
7.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possessbuse distribute, or administer any controlled
       substance, or any paraphernalia related to any controlled substance, except as prescribed y a physician.
8.     The defendant shall not frequent places where controlled substances are illegally sold, used distributed. or administered, or other
       places specified by the court.
9.     The defendant shall not associate with any p'ersons engaged in criminal activity, and shall not associate with any person convicted of
       a felony unless granted permission to do so by the prooaIion officer.
10. The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
    any contraband observed in plain view by the probation officer.
11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
    officer.
12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    permission of the court.
13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
    criminal record or personal history or characteristics. and shan permit the probation officer 10 make such notilications and to confirm
    the defendant's compliance with such notification requirement.




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AO 245B   (Rev. 12/03) Judgment in a Criminal Case
 NeED     Sheet 4C - Probation
                                                                                           Judgment-Page    3     of        5
DEFENDANT: WILLIAM HUNTER YATES
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                                        SPECIAL CONDITIONS OF SUPERVISION
The defendant shall provide the probation office with access to any requested financial information.

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
office.

The defendant shall abide by all conditions and terms of the home detention program for a period not to exceed 180
consecutive days. The defendant shall be restricted to his residence at all times except for work, searching for work,
medical needs or treatment, religious services, and court appearances pre-approved by the probation officer.

The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
and may require residence or participation in a residential treatment facility.

While under supervision in the Eastern District of NC, the defendant shall participate in the DROPS Program and, in
response to detected illegal drug use, shall be confined in the custody of the Bureau of Prisons for a period not to exceed
30 days of intermittent confinement, as arranged by the probation office, in the following increments; First Use - Two Days;
Second Use - Five Days; Third Use - Ten Days.

The defendant shall participate in a program of mental health treatment, as directed by the probation office.

The defendant shall cooperate in the collection of DNA as directed by the probation.




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AO 245B      (Rev. 12/03) Judgment in a Criminal Case
  NCED       Sheet 5 - Criminal Monetary Penalties
                                                                                                            Judgment - Page     4      of       5
DEFENDANT: WILLIAM HUNTER YATES
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                                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                                                                               Restitution
TOTALS               $ 100.00                                             $                                     $ 506.80



o The determination of restitution is deferred until _ _ _. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     lfthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority o~der or perc.entage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must be paid
     before the Umted States IS paId.

Name of Payee                                                                  Total Loss*          Restitution Ordered       Priority or Percentage
  United States Coast Guard Art/Others                                                  $506.80                   $506.80




                                    TOT~A;;:;:L::;::S                 _                 $506.80


 DO Restitution amount ordered pursuant to plea agreement $
 DO The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

ii The court determined that the defendant does not have the ability to pay interest and it is ordered that:
   fJ the interest requirement is waived for the D fine ~ restitution.
         D   the interest requirement for the            o fine   D       restitution is modified as follows:



 * Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.

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AO 2458       (Rev. 12/03) Judgment in a Criminal Case
    NCED      Sheet 6 - Schedule of Payments

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                                                              SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A      D      Lump sum payment of $ _ _ _ _ _ _ _ due immediately, balance due

              D     not later than                                      , or
              D     in accordance           D    C,       D    D,   D     E, or    D F below; or

B      D      Payment to begin immediately (may be combined with                  DC,     D D, or     D F below); or

C      D      Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D      D      Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                            (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

E      D      Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      riI Special instructions regarding the payment of criminal monetary penalties:
               The special assessment in the amount of $100.00 shall be due immediately.
               Payment of restitution shall be due and payable in full immediately. However, if the defendant is unable to pay in full immediately,
               the court, having considered the defendant's financial resources and ability to pay, orders that any balance owed at the
               commencement of supervision shall be paid in installments of $50.00 per month to begin 30 days after the date of this judgment.
               During the defendant's supervision, the probation officer shall take into consideration the defendant's ability to pay the restitution
               ordered and shall notify the court of any needed modification of the payment schedule
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




riI Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.

           William H. Yates                              7:09-CR-164-2-D                  $506.80
           Jeremy C. Fisher                              7:09-CR-164-'I-D                 $234,619.28


D      The defendant shall pay the cost of prosecution.

D      The defendant shall pay the following court cost(s):

D      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

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